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                        UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF IDAHO


 UNITED STATES OF AMERICA,
                                                Case No. 4:12-cr-00020-BLW
                     Plaintiff,
                                                ORDER
        v.

 GUADALUPE MERAZ,

                     Defendant.


      The Court has before it the Government’s Motion to Deposit Funds in an Interest-

Bearing Account (Dkt. 484). Good cause appearing, the Court will grant the motion.

                                           ORDER

      IT IS ORDERED:

      1.     The Government’s Motion to Deposit Funds in an Interest-Bearing Account

             (Dkt. 484) is GRANTED.

      2.     The Clerk of Court shall invest the sum of $115,000.00 received on August

             23, 2013, represented by Stewart Title of California's Check #730214844,

             dated August 21, 2013, in the Court Registry Investment System ("CRIS"),

             which is administered by the Administrative Office of the United States

             Courts under 28 U.S.C. § 2045, and said funds to remain invested pending

             further Order of the Court.


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      3.    The Administrative Office of the Courts is authorized and directed by this

            Order to deduct the investment services fee for the management of

            investments in the CRIS and the registry fee for maintaining accounts

            deposited with the Court.

      4.    Counsel presenting this order shall personally serve a copy thereof on the

            Clerk of Court or his or her financial deputy.

                                        DATED: August 27, 2013



                                        B. LYNN WINMILL
                                        Chief U.S. District Court Judge




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